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             STATE OF MARYLAND
   INFORMATION SECURITY POLICY




                      Version 3.1

                   February 2013
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PURPOSE

The purpose of this policy is to describe security requirements that Executive
Departments and Independent State agencies must meet in order to protect the
confidentiality, integrity and availability of state owned information. This Policy shall
serve as information technology best practice for all other State agencies. Any agency,
based on its individual business needs and specific legal requirements such as the Health
Insurance Portability and Accountability Act (HIPAA), may exceed the security
requirements expressed in this document, but must, at a minimum, conform to the
security controls required by this Policy.

SCOPE

This policy applies to confidential information, as defined in section 3.1, that is
electronically generated, received, stored, printed, filmed, and typed, regardless of
whether the electronic system is hosted on a State network or a 3rd-party offsite premise.
The provisions of this policy apply to all units in the Executive Branch of the State of
Maryland and Independent agencies unless an exception has been previously approved.

AUTHORITY

The Department of Information Technology (DoIT) has the authority to set policy and
provide guidance and oversight for the security of all IT systems in accordance with
Maryland Code § 3A-303 and § 3A-305.

RECORD OF REVISIONS

                                                  Revision Description
              Date
      September, 2009           Version 2.0:
                                1. Major changes in document presentation and format.
                                2. Content based on ISO 17799: 2005
                                3. Increased emphasis on protection of confidential
                                information.

      September, 2009           Version 2.1:
                                Revised Appendix A – Computer Security Incident
                                Handling Form
       October 2009             Version 2.2:
                                1. Section 7.8 - Added Wi-Fi certified devices only.
                                2. Section 8 - Revised Access Control section.
                                3. Section 8.1 - Added password reuse and minimum
                                password age requirements.
                                4. Section 9 - Revised Communication and Operations
                                Management.
                                5. Appendix B - Added Wi-Fi certified.



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      September 2010    Version 2.3:
                           1. Section 2.1 - Modified agency responsibilities
                           2. Section 3.1.1 – Modified policy on the storage of
                               confidential information on portable devices.
                           3. Section 4.6 – Modified IT Incident Response
                               Process
                           4. Section 5.3 – Added Social Media Policy
                           5. Section 6.4 – Modified Storage Media Disposal
                               Policy
                           6. Appendix A – Added definitions
                           7. Appendix B – Modified reporting form
              2011      Version 3.0:
                           1. Adopt NIST Risk Management guidelines
                           2. Added Solid State Drive Sanitation
                           3. Added DR Requirements
                           4. Added Virtual Technologies
                           5. Added Public Cloud Computing Technologies
                           6. Added Security Compliance tools
                           7. Modified password requirements
              2013      Version 3.1:
                           1. Refined cloud guidelines
                           2. Added Agency responsibilities
                           3. Strengthened confidential information protection
                               requirements
                           4. Updated Risk Management guidelines
                           5. Updated Security Assessment guidelines
                           6. Updated Security Configuration guidance
                           7. Updated Incident Response guidance
                           8. Updated Media Protection guidance
                           9. Updated Log Retention guidance
                           10. Updated guidance on disabling user accounts
                           11. Updated password guidance
                           12. Added Mobile Device Security Policy guidance
                           13. Added Data Loss Prevention guidance




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SECTION 1: Preface

Information and information technology (IT) systems are essential assets of the State and
vital resources to Maryland citizens. These assets are critical to the services that agencies
provide to citizens, businesses, and educational institutions, as well as to local and federal
government entities. All information created with State resources for State operations is
the property of the State of Maryland. All agencies, employees, and contractors of the
State are responsible for protecting such information from unauthorized access,
modification, disclosure and destruction. This Policy sets forth a minimum level of
security requirements that, when implemented, will provide the confidentiality, integrity
and availability of Maryland IT assets.

The National Institute of Standards and Technology (NIST) is a non-regulatory federal
agency within the U.S. Department of Commerce. NISTs mission is to promote U.S.
innovation and industrial competitiveness by advancing measurement science, standards,
and technology in ways that enhance economic security and improve our quality of life.

In general, the State of Maryland will adopt NIST information security related standards
and guidelines. Security policies developed to secure an agency information system
should refer to a particular NIST standard [and] agencies shall develop procedures to
ensure compliance with the policy. In the event that a published NIST standard is deemed
insufficient or non-existent, agencies shall adopt industry accepted security guidelines (or
develop them) and refer to them within their security policy.

While state agencies are required to follow certain specific requirements in accordance
with this policy, there is flexibility in how agencies apply NIST guidance. State agencies
should apply the security concepts and principles articulated in the NIST Special
Publications (SP) in accordance with and in the context of the agency’s missions,
business functions, and environment of operation. Consequently, the application of NIST
guidance can result in different security solutions that are equally acceptable and
compliant. When assessing state agency compliance with NIST SP, evaluators, auditors,
and assessors should consider the intent of the security concepts within the specific
guidance document and how the agency applied the guidance in the context of its
mission/business responsibilities, operational environment, and unique organizational
conditions.




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SECTION 2: Roles and Responsibilities

The following policy sets the minimum level of responsibility for the following
individuals and/or groups:
     Department of Information Technology;
     Agency; and
     Employees and Contractors.

2.0     Department of Information Technology

The duties of the Department of Information Technology are:
    Developing, maintaining, and revising IT policies, procedures, and standards;
    Providing technical assistance, advice, and recommendations to the Governor and
       any unit of State government concerning IT matters;
    Developing and maintaining a statewide IT master plan; and
    Adopting by regulation and enforcing non-visual access standards to be used in
       the procurement of IT services by or on behalf of units of State government

2.1     Agency

Information security is an agency responsibility shared by all members of the State
agency management team. The management team shall provide clear direction and
visible support for security initiatives. Each agency is responsible for:
     Initiating measures to assure and demonstrate compliance with the security
        requirements outlined in this policy;
     Implementing and maintaining an IT Security Program;
     Identifying a role (position/person/title) that is responsible for implementing and
        maintaining the agency security program;
     Ensuring that security is part of the information planning and procurement
        process;
     Participating in annual information systems data security self-audits focusing on
        compliance to this State data security policy;
     Determining the feasibility of conducting regular external and internal
        vulnerability assessments and penetration testing to verify security controls are
        working properly and to identify weaknesses;
     Implementing a risk management process for the life cycle of each critical IT
        System;
     Assuring the confidentiality, integrity, availability, and accountability of all
        agency information while it is being processed, stored, and/or transmitted
        electronically, and the security of the resources associated with those processing
        functions;
     Assuming the lead role in resolving Agency security and privacy incidents;
     Abiding by the guidelines established in the Maryland Personal Information
        Protection Act (PIPA). http://www.oag.state.md.us/idtheft/businessGL.htm




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         Development, implementation and testing of an IT Disaster Recovery Plan for
          critical agency IT Systems in accordance with IT Disaster Recovery Plan
          Guidelines;
         Ensuring separation of duties and assigning appropriate system permissions and
          responsibilities for agency system users;
         Abiding by the Records Management Guidelines established by the Department
          of General Services and the Maryland State Archives;
          http://msa.maryland.gov/msa/intromsa/html/record_mgmt/homepage.html
         Identifying ‘business owners’ for any new system that are responsible for:
               o Classifying data;
               o Approving access and permissions to the data;
               o Ensuring methods are in place to prevent and monitor inappropriate access
                   to confidential data; and
               o Determining when to retire or purge the data.

2.2       Employees and Contractors

All State employees and contract personnel are responsible for:
     Being aware of and complying with statewide and internal policies and their
        responsibilities for protecting IT assets of their agency and the State;
     Using IT resources only for intended purposes as defined by policies, laws and
        regulations of the State or agency; and
     Being accountable for their actions relating to their use of all IT Systems.

SECTION 3: Asset Management

All major information systems assets shall be accounted for and have a named business
owner. Accountability for assets helps to ensure that appropriate protection is
maintained. Business owners shall be identified for all major assets and the responsibility
for the maintenance of appropriate controls shall be assigned. Responsibility for
implementing controls may be delegated. Accountability shall remain with the named
business owner of the asset.

3.0       Inventory of Assets

Compiling an inventory of assets is an important aspect of risk management. Agencies
need to be able to identify their assets and the relative values and importance of these
assets. Based on this information, agencies can then provide appropriate levels of
protection. Inventories of the important assets associated with each information system
should be documented and maintained. Asset inventories shall include; a unique system
name, a system/business owner, a security classification and a description of the physical
location of the asset. Examples of assets associated with information systems are:
     Information assets: databases and data files, system documentation, user manuals,
        training material, operational or support procedures, disaster recovery plans,
        archived information;
     Software assets: application software, system software, development tools and
        utilities;


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         Physical assets: computer equipment (processors, monitors, laptops, portable
          devices, tablets, smartphones, modems), communication equipment (routers,
          PBXs, fax machines, answering machines), magnetic media (tapes and disks),
          other technical equipment (uninterruptible power supplies, air conditioning units),
          furniture, accommodation; and
         Services: computing and communications services, general utilities, e.g. heating,
          lighting, power, air-conditioning.

3.1       Information Classification Policy

This section provides general requirements for data classification. The classification
level definitions emphasize common sense steps to be taken to protect confidential
information.

This policy pertains to all information within State of Maryland systems that is processed,
stored, or transmitted via any means. This includes: electronic information, information
on paper, and information shared orally or visually. Data and record custodians must
adhere to this policy and educate users that may have access to confidential information
for which they are responsible.

All Maryland State information is categorized into two main classifications with regard to
disclosure:
     Public
     Confidential
Public information is information that has been declared publicly available by a Maryland
State official with the explicit authority to do so, and can freely be given to anyone
without concern for potential impact to the State of Maryland, its employees or citizens.

Confidential information is non-public information that has been deemed Personally
Identifiable Information (PII), Privileged or Sensitive.

Personally Identifiable Information (PII)
Personally identifiable information is defined as data elements such as an individual’s
name combined with any one of the following; social security number, driver’s license
number, financial, tax or health records.

Privileged
Privileged records are protected from disclosure by the doctrine of executive privilege
which may include but not limited to records:

         Relating to budgetary and fiscal analyses, policy papers, and recommendations
          made by the Department or by any person working for the Department;
         Provided by any other agency to the Department in the course of the Department's
          exercise of its responsibility to prepare and monitor the execution of the annual
          budget;



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      Relating to a State procurement when a final contract award has not been made or
       when disclosure of the record would adversely affect future procurement activity;
       and
      Of confidential advisory and deliberative communications relating to the
       preparation of management analysis projects conducted by the Department
       pursuant to State Finance and Procurement Article, §7-103, Annotated Code of
       Maryland.

Sensitive
Sensitive is used to define information that, if divulged, could compromise or endanger
the citizens or assets of the State.

If an employee is uncertain of the classification of a particular piece of information, the
employee should contact their manager for clarification.

All confidential information should be clearly identified as “Confidential” and will be
subject to the following handling guidelines.

3.1.1 Guidelines for Marking and Handling State Owned Information
It is necessary to classify information so that every individual that comes in contact with
it knows how to properly handle and/or protect it.

Public Information: Information that has no restrictions on disclosure.
    Marking: No marking requirements.
    Access: Unrestricted
    Distribution within Maryland State systems: No restrictions.
    Distribution outside of Maryland State systems: No restrictions.
    Storage: Standard operating procedures based on the highest security category of
        the information recorded on the media. (Refer to the System Security
        Categorization Policy in the following section).
    Disposal/Destruction: Refer to Physical Security section of this document.
    Penalty for deliberate or inadvertent disclosure: Not applicable.

Confidential Information: Non-public information that if disclosed could result in a
negative impact to the State of Maryland, its’ employees or citizens and may include
information or records deemed as Private, Privileged or Sensitive.
     Marking: Confidential information is to be clearly identified as “Confidential”.
     Access: Only those Maryland State employees or contractors with explicit need-
       to-know and other individuals for whom an authorized Maryland State official has
       determined there is a mission-essential need-to-share and the individual has
       signed a non-disclosure agreement.
     Distribution within State of Maryland systems; Delivered direct - signature
       required, envelopes stamped Confidential, or an approved, electronic email or
       electronic file transmission method.




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         Distribution outside of State of Maryland systems: Delivered direct; signature
          required; approved private carriers; or approved encrypted electronic email or
          encrypted electronic file transmission method.
         Storage: Physically control access to system media (paper and digital) and protect
          confidential data using encryption technologies and/or other substantial mitigating
          controls (such as Data Loss Prevention, Network Security Event Monitoring and
          strict database change monitoring). Storage is prohibited on portable devices and
          publicly accessible systems unless prior written approval from agency Secretary
          (or delegated authority) has been granted. Approved storage on portable devices
          or publicly accessible systems must be encrypted. Keep from view by
          unauthorized individuals; protect against viewing while in use and when
          unattended, store in locked desks, cabinets, or offices within a physically secured
          building.
         Disposal/Destruction: Dispose of paper information in specially marked disposal
          bins on Maryland State premises or shred; electronic storage media is sanitized or
          destroyed using an approved method. Refer to Physical Security section of this
          document.

Confidential information should be protected with administrative, technical, and physical
safeguards to ensure its confidentiality, integrity, and availability and to prevent
unauthorized or inappropriate access, use, or disclosure. Confidential information is
prohibited on portable devices and non-state owned devices unless prior written approval
from agency Secretary (or delegated authority) has been granted. Exceptions to this may
include contracted managed (outsourced) services where security of confidential
information is documented, reviewed and approved by data custodians (or delegated
authority). Approved storage on any portable device must be protected with encryption
technology. When cryptography is employed within information systems, the system
must perform all cryptographic operations using FIPS 140-2 validated cryptographic
modules with approved modes of operation. The penalty for deliberate or inadvertent
disclosure of confidential information can range from administrative actions to adverse
personnel actions up to termination of employment. Deliberate, unauthorized disclosure
of confidential information may result in civil and/or criminal penalties.

3.2       System Security Categorization Policy

This section defines common security category levels for information systems that
provides a framework that promotes effective management and oversight of information
security programs. Formulating and documenting the security level of an information
system helps to determine the level of effort or controls required to protect it.

This policy shall apply to all information systems within the State government. Agency
officials shall use the security categorizations described in FIPS Publication 199
(http://csrc.nist.gov/publications/fips/fips199/FIPS-PUB-199-final.pdf). Additional
security designators may be developed under the framework of FIPS and used at agency
discretion.




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The security categories are based on potential impact to an agency should certain events
occur which jeopardize the information and information systems needed by that agency
to accomplish its assigned mission, protect its assets, fulfill its legal responsibilities,
maintain its day-to-day functions, and protect individuals. Security categories are to be
used in conjunction with vulnerability and threat information in assessing the risk to an
agency.

Security Objectives
The Federal Information Security Management Act (FISMA) defines three security
objectives for information and information systems:
    Confidentiality
            o “Preserving authorized restrictions on information access and disclosure,
                including means for protecting personal privacy and proprietary
                information…” [44 U.S.C., Sec. 3542]
            o A loss of confidentiality is the unauthorized disclosure of information.
    Integrity
            o “Guarding against improper information modification or destruction, and
                includes ensuring information non-repudiation and authenticity…” [44
                U.S.C., Sec. 3542]
            o A loss of integrity is the unauthorized modification or destruction of
                information.
    Availability
            o “Ensuring timely and reliable access to and use of information…” [44
                U.S.C., SEC. 3542]
            o A loss of availability is the disruption of access to or use of information or
                an information system.

Potential Impact on Organizations and Individuals
FIPS Publication 199 defines three levels of potential impact (low, moderate, high) on
organizations or individuals should there be a breach of security (i.e., a loss of
confidentiality, integrity, or availability). The application of these definitions must take
place within the context of each organization and overall State interest.

The potential impact is LOW if—
− The loss of confidentiality, integrity, or availability could be expected to have a limited
adverse effect on organizational operations, organizational assets, or individuals.
Clarification: A limited adverse effect means that, for example, the loss of
confidentiality, integrity, or availability might: (i) cause a degradation in mission
capability to an extent and duration that the organization is able to perform its primary
functions, but the effectiveness of the functions is noticeably reduced; (ii) result in minor
damage to agency assets; (iii) result in minor financial loss; or (iv) result in minor harm
to individuals.

The potential impact is MODERATE if—
− The loss of confidentiality, integrity, or availability could be expected to have a serious
adverse effect on organizational operations, organizational assets, or individuals.


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Clarification: A serious adverse effect means that, for example, the loss of
confidentiality, integrity, or availability might: (i) cause a significant degradation in
mission capability to an extent and duration that the agency is able to perform its primary
functions, but the effectiveness of the functions is significantly reduced; (ii) result in
significant damage to agency assets; (iii) result in significant financial loss; or (iv) result
in significant harm to individuals that does not involve loss of life or serious life
threatening injuries.

The potential impact is HIGH if—
− The loss of confidentiality, integrity, or availability could be expected to have a severe
or catastrophic adverse effect on agency operations, organizational assets, or individuals.
Clarification: A severe or catastrophic adverse effect means that, for example, the loss of
confidentiality, integrity, or availability might: (i) cause a severe degradation in or loss of
mission capability to an extent and duration that the agency is not able to perform one or
more of its primary functions; (ii) result in major damage to agency assets; (iii) result in
major financial loss; or (iv) result in severe or catastrophic harm to individuals involving
loss of life or serious life threatening injuries

3.3     Security Categorization Applied to Information Systems

Determining the security category of an information system requires consideration of the
sensitivity of the information resident on that system. For an information system, the
potential impact values assigned to the respective security objectives (confidentiality,
integrity, availability) shall be considered at least ‘moderate’ if the information stored on
them is considered ‘confidential’. The generalized format for expressing the security
category, SC, of an information system is: SC information system = {(confidentiality,
impact), (integrity, impact), (availability, impact)}, Where the acceptable values for
potential impact are LOW, MODERATE, or HIGH.

SECTION 4: Security Control Requirements Overview

This section defines requirements that must be met for agencies to properly protect
confidential information under their administrative control. All information systems
(hosted on a State network or a 3rd Party offsite premise) used for receiving, processing,
storing and transmitting confidential information must be protected in accordance with
these requirements. Information systems include the equipment, facilities, and people that
handle or process confidential information.

This computer security framework was primarily developed using applicable guidelines
specified in National Institute of Standards & Technology (NIST) SP 800-30, Risk
Management Guide for Information Technology Systems and SP 800-53 revision 3,
Recommended Security Controls for Federal Information Systems and also Internal
Revenue Service (IRS) Publication 1075, Tax Information Security Guidelines for
Federal, State and Local Agencies. Only applicable NIST SP 800-53 controls designed to
protect systems with a ‘moderate’ category level, as defined in Federal Information
Processing Standards Publication (FIPS) 199, Standards for Security Categorization of
Federal Information and Information Systems, are included in this policy as a baseline.


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Systems with a ‘high’ category level should reference NIST SP 800-53 rev.3 for guidance
in applying appropriate additional security controls.

This framework categorizes security controls into three types:
        1) Management,
        2) Operational, and
        3) Technical.

Management security controls focus on managing organizational risk and information
system security and devising sufficient countermeasures for mitigating risk to acceptable
levels. Management security control families include risk management, security
assessment and authorization, security planning, and system and services acquisition.

Operational security controls focus on mechanisms primarily implemented by people as
opposed to systems. These controls are established to improve the security of a group, a
specific system, or a group of systems. Operational security controls require technical or
specialized expertise and often rely on management and technical controls. Operational
security controls include awareness and training, configuration management, contingency
planning, incident response, maintenance, media protection, physical and personnel
security, and system and information integrity.

Technical security controls focus on operations executed by the computer system through
mechanisms contained in the hardware, software and firmware components of the
system. Technical security control families include identification and authentication,
access control, audit and accountability, and system and communications protection.

SECTION 5 Management Level Controls

5.0 Risk Management

Risk Management refers to the process of identifying risk, assessing risk, and taking steps
to reduce risk to an acceptable level. A risk management program is an essential
management function and is critical for any agency to successfully implement and
maintain an acceptable level of security. A risk management process must be
implemented to assess the acceptable risk to agency IT systems as part of a risk-based
approach used to determine adequate security for their systems. Agencies will define a
schedule for on-going risk management review and evaluation based on the system
categorization level and/or data classification of their systems.

Risk assessment is the first process of risk management. Agencies shall use risk
assessment to determine the extent of the potential threat and the risk associated with an
IT system throughout its System Development Life Cycle (SDLC). The output of this
process helps to identify appropriate controls for reducing or eliminating risk during the
risk mitigation process. NIST SP 800-30 rev.1 Guide for Conducting Risk Assessments
provides guidance for carrying out each of the steps in the risk assessment process, such
as planning, executing, communicating results, and maintaining the assessment.



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Risk mitigation, the second process of risk management, involves prioritizing, evaluating,
and implementing the appropriate risk-reducing controls recommended from the risk
assessment process. Controls are defined as IT processes and technologies designed to
close vulnerabilities, maintain continuity of operation at specified performance levels,
and achieve and document compliance with policy requirements. The controls presented
in this section are designed to mitigate risks and are required to comply with this policy.

The third process of risk management, evaluation, is ongoing and evolving. Evaluation
emphasizes the good practice to develop an effective risk management program within
the agency’s information security program. Not only should the risk management
program engage changes to existing systems, but should also integrate into the agency’s
operational functions, as well as the SDLC for new systems and applications.

NIST Guidance:

Managing Information Security Risk: Organization, Mission, and Information System View
SP800-39-final.pdf
Information Security Handbook: A Guide for Managers
SP800-100-Mar07-2007.pdf

5.1 Security Assessment and Authorization

Agencies shall produce an Authorization to Operate (ATO) document that verifies
security controls have been adequately implemented (or plan to be implemented) to
protect confidential information. The ATO constitutes the agency’s acknowledgment and
acceptance of risk associated with the system.

Custodians of confidential information shall, via the completion of a security
authorization form, verify the completeness and propriety of the security controls used to
protect it before initiating operations. This shall be done for any infrastructure component
or system associated with confidential information. The authorization shall occur every
three (3) years or whenever there is a significant change (e.g. major software upgrade,
implementation of new hardware, change of hosting services, etc.) to the control
structure. A senior agency official shall sign and approve the security authorization.

Agencies shall continuously (at least annually) monitor the security controls within their
information systems to ensure that the controls are operating as intended. Agencies shall
authorize and document all connections from information systems to other information
systems outside of the system boundary through the use of service interface agreements
and monitor/control system connections on an ongoing basis. Agencies shall annually
conduct a formal assessment of the security controls of information systems to determine
the extent to which the controls are implemented correctly, operating as intended, and
producing the desired outcome with respect to meeting the security requirements for their
systems. Refer to NIST SP 800-115 Technical Guide to Information Security Testing and
Assessment for guidance in choosing applicable assessment methods.




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Agencies are responsible to develop and periodically update a Plan of Action &
Milestones (POAM) document that shall identify any deficiencies related to the
processing of confidential information. The POAM shall identify planned, implemented,
and evaluated remedial actions to correct deficiencies noted during annual assessments.
A Corrective Action Plan (CAP) will identify activities planned or completed to correct
deficiencies identified during the Security Assessment review. Both the POAM and the
CAP shall address implementation of security controls to reduce or eliminate known
vulnerabilities in agency systems.

IRS Safeguard Guidance:
http://www.irs.gov/businesses/small/article/0,,id=213693,00.html

NIST Guidance:
Guide for Applying the Risk Management Framework to Federal Information Systems: A
Security Life Cycle Approach
sp800-37-rev1-final.pdf
Security Guide for Interconnecting Information Technology Systems
sp800-47.pdf

5.2 Planning

Agency security planning controls include system security plans and system security plan
updates. Agencies must develop, document, and establish a system security plan by
describing the security requirements, current controls and planned controls, for protecting
agency information systems and confidential information. The system security plan must
be updated to account for significant changes in the security requirements, current
controls and planned controls for protecting agency information systems and confidential
information. Agencies must develop, document, and establish a set of rules describing
their responsibilities and expected system behavior requirement to system security plan.

NIST Guidance:

Guide for Developing Security Plans for Federal Information Systems
sp800-18-Rev1-final.pdf
Building an Information Technology Security Awareness and Training Program
NIST-SP800-50.pdf


5.3 Service Interface Agreements

With the exception of NetworkMaryland provided connections, external network
connections shall be permitted only after all approvals are obtained consistent with this
policy and shall be managed in accordance with a Service Interface Agreement (SIA) that
is agreed to by the State agency and the untrusted entity. These connections are subject to
the Maryland Public Information Act and should not be part of the ordinary process of
doing business. Specific criteria should be included in the system IT Security. An SIA
shall include:


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      Purpose and duration of the connection as stated in the agreement, lease, or
       contract;
      Points-of-contact and cognizant officials for both the State and untrusted entities;
      Roles and responsibilities of points-of-contact and cognizant officials for both
       State and untrusted entities;
      Security measures to be implemented by the untrusted organization to protect the
       State's IT assets against unauthorized use or exploitation of the external network
       connection; and
      Requirements for notifying a specified State official within a specified period of
       time (4 hours recommended) of a security incident on the network.

SECTION 6 Operational Level Controls

6.0 Awareness and Training

Agencies must ensure all information system users and managers are knowledgeable of
security awareness material before authorizing access to systems. Agencies must identify
personnel with information system security roles and responsibilities, document those
roles and responsibilities, and provide sufficient security training before authorizing
access to information systems or confidential information. Agencies must document and
monitor individual information system security training activities including basic security
awareness training and specific information system security training.

6.1 Configuration Management

System hardening procedures shall be created and maintained to ensure up-to-date
security best practices are deployed at all levels of IT systems (operating systems,
applications, databases and network devices). All default system administrator passwords
must be changed. Agencies shall implement an appropriate change management process
to ensure changes to systems are controlled by;
     Developing, documenting, and maintaining current secured baseline
        configurations.
     Network devices should be patched and updated for all security related
        updates/patches using automated tools when possible.
     Develop, document, and maintain a current inventory of the components of
        information systems and relevant ownership information.
     Configuring information systems to provide only essential capabilities.
     Configuring the security settings of information technology products to the most
        restrictive mode consistent with operational requirements.
     Analyzing potential security impacts of changes prior to implementation.
     Authorizing, documenting, and controlling system level changes.
     Restricting access to system configuration settings and provide the least
        functionality necessary.
     Prohibiting the use of functions, ports, protocols, and services not required to
        perform essential capabilities for receiving, processing, storing, or transmitting
        confidential information.


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      Maintaining backup copies of hardened system configurations.

Security Configuration Guidance:

Microsoft Security Compliance Manager
http://technet.microsoft.com/en-us/library/cc677002.aspx
National Checklist Program Repository
http://web.nvd.nist.gov/view/ncp/repository
National Security Agency
http://www.nsa.gov/ia/mitigation_guidance/security_configuration_guides/index.shtml
The Center for Internet Security
http://benchmarks.cisecurity.org/en-us/?route=downloads.benchmarks

6.2 Contingency Planning

Agencies shall develop, implement, and test an IT Disaster Recovery plan for all systems
determined to be business critical. Creation, maintenance, and annual testing of a plan
will minimize the impact of recovery and loss of information assets caused by events
ranging from a single disruption of business to a disaster. Disaster Recovery Plan
maintenance should be incorporated into the agency’s change management process to
ensure plans are up-to-date. Planning and testing provides a foundation for a systematic
and orderly resumption of all computing services within an agency when disaster strikes.

Primary Components of an IT Disaster Recovery Plan are;
    Identification of a disaster recovery team;
    Definitions of recovery team member responsibilities;
    Documentation of each critical system including;
          o Purpose
          o Hardware
          o Operating System
          o Application(s)
          o Data
          o Supporting network infrastructure and communications
          o Identity of person responsible for system restoration
    System restoration priority list;
    Description of current system back-up procedures;
    Description of back-up storage location;
    Description of back-up testing procedures (including frequency);
    Identification of disaster recovery site including contact information;
    System Recovery Time Objective RTO;
    System Recovery Point Objective RPO (how current should the data be?); and
    Procedures for system restoration at backup and original agency site.

Additional disaster recovery guidelines can be found at:
http://doit.maryland.gov/support/Pages/SecurityDisasterRecovery.aspx



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6.3 Incident Response

Information Technology Incident Management refers to the processes and procedures
agencies implement for identifying, responding to, and managing information security
incidents. A computer incident within Maryland state government is defined as a
violation of computer security policies, acceptable use policies, or standard computer
security practices. Refer to NIST SP 800-61 Revision 2 Computer Security Incident
Handling Guide for guidance in creating an incident management policy and developing
plans and procedures to support it.

In order to clearly communicate incidents and events (any observable occurrence in a
network or system) throughout Maryland state government and supported agencies, it is
necessary for the agency incident response teams to adopt a common set of terms and
relationships between those terms. All elements of state government should use a
common taxonomy. A high level set of concepts and descriptions to enable improved
communications among and between agencies is provided below. The taxonomy below
does not replace discipline (technical, operational, intelligence) that needs to occur to
defend state agency computers/networks, but provides a common platform for data
collection and analysis. After verifying that an incident has occurred, classify the incident
using the categories listed below, follow an incident checklist (See Appendix F) and
Report the incident to DoIT.




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                             Agency Incident Categories
       Category      Name                      Description
        CAT 1 Unauthorized In this category an individual gains logical or
              Access       physical access without permission to a state
                           agency network, system, application, data, or
                           other resource
        CAT 2 Denial of        An attack that successfully prevents or impairs
              Service          the normal authorized functionality of networks,
              (DoS)            systems or applications by exhausting resources.
                               This activity includes being the victim or
                               participating in the DoS.
        CAT 3 Malicious        Successful installation of malicious software
              Code             (virus, worm, Trojan horse, or other code-based
                               malicious entity) that infects an operating system
                               or application. Agencies are NOT required to
                               report malicious logic that has been successfully
                               quarantined by antivirus (AV) software.
        CAT 4 Improper         A person violates acceptable computing use
              Usage            policies as defined in Section 11 of this
                               document.


Agencies shall report IT incidents to DoIT by completing an IT Incident Report
(Appendix A). Agencies are asked to provide as much information about the incident as
possible including; the incident category, how the incident was discovered, affected IP
addresses, port numbers, information about the affected agency system, impact to the
agency, and the final resolution.

State-wide Government Intranet form access;
http://doit.net.md.gov/security/pages/sa.aspx
Downloadable form;
http://doit.maryland.gov/support/ASMsecurityForms/ITIncidentReportFmPrint.pdf

6.4 Maintenance

Agencies must identify, approve, control, and routinely monitor the use of information
system maintenance tools and remotely executed maintenance and diagnostic activities.
Only authorized personnel are to perform maintenance on information systems.

Agencies must ensure that system maintenance is scheduled, performed, and documented
in accordance with manufacturer or vendor specifications and/or organizational
requirements.




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6.5 Media Protection

The purpose of this section is to ensure proper precautions are in place to protect
confidential information stored on media.

All media that contains confidential information including removable media (CDs,
magnetic tapes, external hard drives, flash/thumb drives, DVDs, copier hard disk drives,
and information system input and output (reports, documents, data files, back-up tapes)
shall be clearly labeled “Confidential”. Agencies shall restrict access to system media
containing confidential information to authorized individuals.

Media labeled “Confidential” shall be physically controlled and securely stored.

Agencies must protect and control “Confidential” system media during transport outside
of controlled areas and restrict the activities associated with transport of such media to
authorized personnel.

Agencies must deploy a tracking method to ensure “Confidential” system media reaches
its intended destination.

When no longer required for mission or project completion, media to be used by another
person within the agency shall be overwritten (clear or purge) with software and
protected consistent with the classification of the data. Specific procedures shall be
documented in the applicable agency IT System Security Plan.

Throughout the lifecycle of IT equipment, there are times when an agency will be
required to relinquish custody of the asset. The transfer of custody may be temporary,
such as when equipment is serviced or loaned, or the transfer may be permanent;
examples being a donation, trade-in, lease termination or disposal through
GovDeals.com. Any transfer of custody of equipment poses a significant risk that
confidential information, licensed software or intellectual property stored on that
equipment may also be transferred.

To eliminate the possibility of inadvertently releasing residual representation of State
data, State agencies will either destroy the electronic storage media (provide evidence of
destruction documentation) or ensure that the electronic storage media has been sanitized
in accordance with NIST SP800-88 Guidelines for Media Sanitization.

 Note: Disposal of electronic storage media should be in compliance with the agency’s
document retention policy and litigation hold procedures.

Several factors should be considered along with the security categorization of the system
when making sanitization decisions. Disposal decisions should be made based upon the
classification of the data, level of risk, and cost to the agency. DoIT endorses two
options for sanitization:




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Option 1: If the storage device in a unit designated for re-sale or disposal is over four
years old, it must be destroyed.

Option 2: If the storage device in a unit designated for re-sale or disposal is less than four
years old, it must be sanitized with a disk wiping utility such as Active Killdisk
Professional or destroyed.

Additionally, the procedures performed to sanitize electronic media should be
documented and retained for audit verification purposes.

This policy applies to all electronic storage media equipment that is owned or leased by
the State (including, but not limited to: workstations, servers, laptops, cell phones and
Multi-Function Printers/Copiers).

For situations in which the electronic storage media leaves the custody of the agency
temporarily, such as servicing of equipment or a temporary loan of equipment outside of
an agency, the agency shall conduct an assessment of the information stored on the
equipment and appropriately secure the information such that the unauthorized disclosure
or use of the information is prevented. If the equipment contains confidential or high-risk
information, the agency shall remove the hard drive. If removal of the hard drive is not
feasible, the agency shall sanitize the equipment or encrypt the information
commensurate with the assessment of the information contained on the hard disk.

Agencies can outsource media sanitization and destruction if business and security
management decide that this would be the most reasonable option for them to maintain
confidentiality while optimizing available resources. When exercising this option, this
guide recommends that organizations exercise “due diligence” when entering into a
contract with another party engaged in media sanitization.

Due diligence could include;
    Reviewing an independent audit of the disposal company’s operations;
    Obtaining information about the disposal company from several references or
       other reliable sources;
    Requiring that the disposal company be certified by a recognized trade association
       or similar third party;
    Reviewing and evaluating the disposal company’s information security policies or
       procedures; and
    Taking other appropriate measures to determine the competency and integrity of
       the potential disposal company.

Note on solid state drives; A solid-state drive (SSD) is a data storage device that uses
solid-state memory to store persistent data. Standard sanitation methods have proven
ineffective for SSD's. State sanitation standards for SSD's containing confidential
information require:
     Physical destruction, or
     Encrypt the entire disk as soon as the operating system is installed.


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6.6 Physical and Personnel Security

Physical access to information technology processing equipment, media storage areas,
and media storage devices and supporting infrastructure (communications, power, and
environmental) must be controlled to prevent, detect, and minimize the effects of
unauthorized or unintended access to these areas. Agencies must:
    Secure IT areas with controls commensurate to the risks;
    Ensure secure storage of media; and
    Obtain personnel security clearances where appropriate;

Physical access controls must be in place for the following:
    Data Centers;
    Areas containing servers and associated media;
    Networking cabinets and wiring closets;
    Power and emergency backup equipment; and
    Operations and control areas.

Access to data centers and secured areas should be limited to those employees,
contractors, technicians and vendors who have legitimate business responsibilities in
those areas. Authorization should be:
     Based on frequency of need for access; and
     Approved by the manager responsible for the secured area.

Each agency is responsible for:
    Ensuring that all portable storage media such as hard drives, flash media drives,
       diskettes, magnetic tapes, laptops, PDA devices, DVDs and CDs are physically
       secured;
    Ensuring proper employee/contractor identification processes are in place;
    Ensuring proper environmental and physical controls are established to prevent
       accidental or unintentional loss of information residing on IT systems; and
    Ensuring that any physical access controls are auditable.

Security clearances are required for personnel as determined by the system sensitivity and
data classification designation. Agencies will ensure that an appropriate background
investigation (e.g., CJIS, State Police) has been completed on personnel as necessary.
Agencies will maintain personnel clearance information on file.

6.7 System and Information Integrity

Agencies shall implement system and information integrity security controls including
flaw remediation, information system monitoring, information input restrictions (such as
validating input in all Web applications), and information output handling and retention.

Agencies must protect against malicious code (e. g. viruses, worms, Trojan horses, etc.)
by implementing (anti-virus, anti-malware) solutions that, to the extent possible, includes
a capability for automatic updates. Intrusion detection/prevention tools and techniques


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must be employed to monitor system events, detect attacks, and identify unauthorized use
of information systems and/or confidential information.

Agencies must restrict information system input to authorized personnel (or processes
acting on behalf of such personnel) responsible for receiving, processing, storing, or
transmitting confidential information.

Agencies must identify, document, and correct information system flaws.

Agencies shall receive and review information system security alerts/advisories for
critical software that they use (e. g. operating systems, applications, etc.) on a regular
basis, issue alerts/advisories to appropriate personnel, and take appropriate actions in
response.

Agencies shall manage and protect system output during the entire system lifecycle in
accordance with applicable federal laws, Executive Orders, directives, data retention
policies, regulations, standards, and operational requirements.

SECTION 7 Technical Level Controls

7.0 Access Control Requirements

      Agencies must manage user accounts, including activation, deactivation, changes
       and audits.
      Agency systems must enforce assigned authorizations that control system access
       and the flow of information within the system and between interconnected
       systems.
      Agencies must ensure that only authorized individuals (employees or agency
       contractors) have access to confidential information and that such access is
       strictly controlled, audited, and that it supports the concepts of “least possible
       privilege” and “need to know”.
      Agencies must identify, document and approve specific user actions that can be
       performed without identification or authentication. An example of access without
       identification and authentication would be use of a public web site for which no
       authentication is required.
      Agencies must ensure that the systems enforce separation of duties through
       assigned access authorizations. Agency systems must enforce the most restrictive
       access capabilities required for specified tasks.
      Agency systems must enforce a limit of (4) consecutive unsuccessful access
       attempts during a (15) minute time period by automatically locking that account
       for a minimum of (10) minutes.
      Agency systems must display the following warning before granting system
       access;
       “Access to this system is restricted to authorized users only and limited to
       approved business purposes. By using this system, you expressly consent to the
       monitoring of all activities. Any unauthorized access or use of this system is



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       prohibited and could be subject to criminal and civil penalties. All records,
       reports, e-mail, software, and other data generated by or residing upon this
       system are the property of State of Maryland and may be used by the State of
       Maryland for any purpose.”
      Agency systems must ensure that unauthorized users are denied access by
       ensuring that user sessions time out or initiate a re-authentication process after
       (30) minutes of inactivity.
      Agencies must authorize, document, and monitor all remote access capabilities
       used on its systems. Remote access is defined as any access to an agency
       information system by a user communicating through an external network, for
       example: the Internet. Virtual Private Network (VPN) or equivalent technology
       should be used when remotely accessing information systems. All remote access
       connections that utilize a shared infrastructure, such as the Internet, must utilize
       some form of encryption for transmission of data and authentication information.
      Agencies must develop formal procedures for authorized individuals to access its
       information systems from external systems, such as access allowed from an
       alternate work site (if required). The procedures shall address the authorizations
       allowed to receive, transmit, store, and/or process confidential information.
       Agencies will establish terms and conditions, consistent with any trust
       relationships established with other organizations owning, operating, and/or
       maintaining external information systems, allowing authorized individuals to; (i)
       access the information system from the external information systems; and (ii)
       process, store, and/or transmit agency-controlled information using the external
       information systems.
      Agencies must authorize, document, and monitor all wireless access to its
       information systems. Wireless security guidelines are documented in Appendix D.
      Devices which are not the property of, or under the control of an Agency
       (including any portable devices) should not be directly attached to the Agency
       networks.

7.1 Audit & Accountability Control Requirements

      Information systems must generate audit records for all security-relevant events,
       including all security and system administrator accesses. An example of an audit
       activity is reviewing the administrator actions whenever security or system
       controls may be modified to ensure that all actions are authorized. Security-
       relevant events must enable the detection of unauthorized access to confidential
       information. System and/or security administrator processes will include all
       authentication processes to access the system, for both operating system and
       application-level events.
      Audit logs must be enabled for tracking activities taking place on the system.
       Application and system auditing must be enabled to the extent necessary to
       capture access, modification, deletion and movement of critical/confidential
       information by each unique user. This auditing requirement also applies to data
       tables or databases embedded in or residing outside of an application. The
       information system shall be configured to alert appropriate agency officials in the


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       event of an audit processing failure and take the additional actions (i.e. shut down
       information system, overwrite oldest audit records or stop generating audit
       records).
      Information systems must be configured to allocate sufficient audit record storage
       capacity to record all necessary auditable items. Refer to NIST SP 800-92 Guide
       to Computer Security Log Management (table 4.1) for guidance on local system
       log retention configuration options. Agencies shall ensure that its information
       systems produce audit records that contain sufficient information to, at a
       minimum establish; (i) what type of event occurred, (ii) when (date and time) the
       event occurred, (iii) where the event occurred, (iv) the source of the event, (v) the
       identity of the targeted resource (vi) the outcome (success or failure) of the event,
       (vii) the identity of any user/subject associated with the event.
      Procedures must be developed to routinely (for example daily or weekly) review
       audit records for indications of unusual activities, suspicious activities or
       suspected violations, and report findings to appropriate officials for prompt
       resolution. Information systems shall provide the capability to automatically
       process audit records for events of interest based on selectable event criteria and
       also provide report generation capabilities.
      To support the audit of activities, Agencies must ensure that audit information is
       archived for the [lesser of 3 years or until the Office of Legislative Audits
       completes the audit of the entity] to enable the re-creation of computer related
       accesses to both the operating system and to the application wherever confidential
       information is stored. Information systems must protect audit information and
       audit tools from unauthorized access, modification, and deletion.

7.2 Identification & Authorization Control Requirements

      Information systems must be configured to uniquely identify users, devices, and
       processes via the assignment of unique user accounts and validate users (or
       processes acting on behalf of users) using standard authentication methods such
       as passwords, tokens, smart cards, or biometrics.
      Agencies must manage user accounts assigned within its information systems.
       Effective user account management practices include (i) obtaining authorization
       from appropriate officials to issue user accounts to intended individuals; (ii)
       disabling user accounts, when no longer needed. (immediately upon user exit
       from employment, 60 days for inactive accounts.); (iii) not re-issuing inactive or
       terminated user accounts; and (iv) developing and implementing standard
       operating procedures for validating system users who request reinstatement of
       user account privileges suspended or revoked by information systems.
      Information systems must obscure feedback of authentication information during
       the authentication process to protect the information from possible
       exploitation/use by unauthorized individuals.
      Whenever information systems are employing cryptographic modules, the agency
       shall work to ensure these modules are compliant with NIST guidance, including
       FIPS PUB140-2 compliance.




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7.2.1 User Authentication & Password Requirements

All users must be uniquely identified. Passwords must meet the following construction,
usage and change requirements:
     The password must not be the same as the user id;
     Passwords must not be stored in clear text;
     Passwords must never be displayed on the screen;
     Change temporary passwords at the first logon;
     Passwords must be a minimum of eight (8) characters and consist of mixed
       alphabetic and numeric characters. Passwords must not consist of all numbers, all
       special characters, or all alphabetic characters;
     Passwords must not contain leading or trailing blanks;
     Change user-level passwords at regular intervals (at least annually);
     Administrative-level account passwords shall be changed every 90 days or
       sooner;
     Passwords protecting access to systems or applications that have been categorized
       as Moderate or High shall be changed every 90 days or sooner;
     Password reuse must be prohibited by not allowing the last 10 passwords to be
       reused with a minimum password age of at least 2 days;
     Where possible, users should be prohibited from only changing/or adding one (1)
       character to their previous password (i.e., users should be prohibited from using
       passwords that are similar to their previous password);
     State issued login credentials (username & password) shall not be used for
       ancillary 3rd party services (online Web accounts, e-mail, e-commerce, etc..)
     A password older than its expiration date must be changed before any other
       system activity is performed;
     User ids associated with a password must be disabled after not more than four (4)
       consecutive failed login attempts while allowing a minimum of a fifteen (15)
       minute automatic reset of the account;
     User ids associated with a password must be disabled or locked after 60 days of
       inactivity; and
     When a user password is reset or redistributed, the validation of the user identity
       must be at least as strong as when originally established.

Group or shared IDs are prohibited unless they are documented as “Functional IDs”.
Functional IDs are user accounts associated with a group or role that may be used by
multiple individuals (e.g., Emergency Problem/Fix IDs) or that are associated with a
particular production job process (e.g., RACF ID used to run production jobs).
Passwords associated with functional IDs must not be stored in clear text, must have a
minimum of eight (8) characters and consist of mixed alphabetic and numeric characters,
and must not be displayed on the screen. Functional IDs are exempt from the other user
password characteristics described above.




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7.3 System & Communications Control Requirements

      Information systems shall separate front end interfaces from back end processing
       and data storage.
      Information systems shall prevent unauthorized and unintended information
       transfer via shared system resources.
      Information systems shall be configured to monitor and control communications
       at the external boundaries of the information systems and at key internal
       boundaries within the systems.
      Information systems must protect the confidentiality of confidential information
       during electronic transmission. Agencies must encrypt all media containing
       confidential information during transmission. When cryptography (encryption) is
       employed within information systems, the system must perform all cryptographic
       operations using Federal Information Processing Standard (FIPS) PUB140-2
       validated cryptographic modules with approved modes of operation.
      When Public Key Infrastructure (PKI) is used, Agencies shall establish and
       manage cryptographic keys using automated mechanisms with supporting
       procedures or manual procedures.
      Whenever there is a network connection (external to the system), the information
       system shall terminate the network connection at the end of a session or after no
       more than (15) minutes of inactivity. Exceptions can be authorized in writing by
       the agency CIO or authorizing official.

SECTION 8 Virtualization Technologies

Agencies must implement careful planning prior to the installation, configuration and
deployment of virtualization solutions to ensure that the virtual environment is as secure
as a non-virtualized environment and in compliance with all relevant state and/or agency
policies. Security should be considered from the initial planning stage at the beginning of
the systems development life cycle to maximize security and minimize costs. The
security recommendations described in Sections 4 & 5 of NIST SP 800-125 Guide to
Security for Full Virtualization Technologies shall be adopted as the state standard for
securing virtualization solutions.

http://csrc.nist.gov/publications/nistpubs/800-125/SP800-125-final.pdf
NIST Guide to Security for Full Virtualization Technologies

SECTION 9 Cloud Computing Technologies

Cloud computing has been defined by NIST as a model for enabling convenient, on-
demand network access to a shared pool of configurable computing resources (e.g.,
networks, servers, storage, applications, and services) that can be rapidly provisioned and
released with minimal management effort or cloud provider interaction. If an agency
plans on using a cloud-based solution for processing, transmitting or storing confidential
information, security controls must be implemented to ensure that the compliance and



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auditing requirements are met as stated in this policy in addition to any Federal
regulations that may apply.

NIST SP 800-144 Guidelines on Security and Privacy in Public Cloud Computing
provides an overview of the security and privacy challenges for public cloud computing
and present recommendations that agencies should consider when outsourcing data,
applications and infrastructure to a public cloud environment. Maryland shall adopt the
security recommendations and guidelines described in SP 800-144. The key guidelines
recommended to agencies include:

Preliminary Activities;
     Identify security, privacy, and other organizational requirements for cloud
       services to meet, as a criterion for selecting a cloud provider.
     Analyze the security and privacy controls of a cloud provider’s environment and
       assess the level of risk involved with respect to the control objectives of the
       organization. A review of the provider’s SOC 2 report is helpful.
     Evaluate the cloud provider’s ability and commitment to deliver cloud services
       over the target timeframe and meet the security and privacy levels stipulated.

Initiating and Coincident Activities;
     Ensure that all contractual requirements are explicitly recorded in the service
         agreement, including privacy and security provisions, and that they are endorsed
         by the cloud provider.
     Involve a legal advisor in the review of the service agreement and in any
         negotiations about the terms of service.
     Continually assess the performance of the cloud provider and the quality of the
         services provisioned to ensure all contract obligations are being met and to
         manage and mitigate risk.

Concluding Activities;
    Alert the cloud provider about any contractual requirements that must be observed
      upon termination.
    Revoke all physical and electronic access rights assigned to the cloud provider
      and recover physical tokens and badges in a timely manner.
    Ensure that organizational resources made available to or held by the cloud
      provider under the terms of service agreement are returned or recovered in a
      usable form, and that information has been properly expunged.

Guidelines on Security and Privacy in Public Cloud Computing
http://www.nist.gov/customcf/get_pdf.cfm?pub_id=909494
Cloud Computing Synopsis and Recommendations
http://csrc.nist.gov/publications/drafts/800-146/Draft-NIST-SP800-146.pdf




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SECTION 10: Mobile Devices

Tablets, and other mobile computing and communication devices have become very
popular because of their convenience and portability. However, the use of such devices is
accompanied by risks that must be recognized and addressed to protect both the physical
devices and the information they contain. Laptops are specifically excluded from the
scope of this policy because the security controls available for laptops today are quite
different than those available for mobile devices.

The most effective way to secure confidential data is not to store it on mobile devices.
As a matter of policy and best practice, data should always be secured where it resides.

State business requirements may, on occasion, justify storing confidential data on mobile
computing devices. In these cases, Agencies are required to assure that steps have been
taken to keep the data secure. It is the responsibility of the agencies to recognize these
risks and take the necessary steps to protect and secure their mobile computing devices.
Consideration of a mobile device management solution may be necessary to implement
recommended controls.

Steps may include, but are not limited to:

      A list of supported mobile devices.
      Protection of data transmission that occurs between the mobile device and the
       agency assets.
      Protection of data storage on mobile devices including removable media.
      Procedures that should be followed if a mobile device is lost or is at risk of having
       its data recovered by an untrusted party (proper authority notification and device
       wipe options).
      All vendor recommended patches, hot-fixes or service packs must be installed
       prior to deployment and processes must be in place to keep system hardware,
       operating system and applications current based on vendor support
       recommendations (including patches, hot-fixes, and service packs);
      Proper asset management procedures shall apply to all mobile devices;
      Whenever possible, all mobile device application distribution and installation
       shall be centrally controlled and managed;
      Whenever possible, all mobile device operating system and application security
       patch installation shall be centrally controlled and managed;
      Mobile device options and applications that are not in use shall be disabled;
      Whenever possible, Bluetooth settings should be configured to notify users of
       incoming connection requests and to receive confirmation before proceeding;
      All mobile devices must be password or PIN protected;
      All mobile devices should have timeout/locking features and device erase
       functions (including removable memory) enabled;
      Whenever possible, all mobile devices should have anti-virus and/or firewall
       protection installed;



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      No confidential information shall be stored on mobile devices unless it is
       encrypted and permission is granted from an authorized official;
      Confidential information should be sanitized from the mobile device before it is
       returned, exchanged or disposed of; and
      Whenever possible, mobile devices shall be scanned for viruses/malware before
       they can connect to State systems;

The physical security of State issued mobile devices is the responsibility of the employee
to whom the device has been assigned. Devices shall be kept in the employee’s physical
presence whenever possible. Whenever a device is being stored, it shall be stored in a
secure place, preferably out-of-sight. If a mobile device is lost or stolen, the employee is
responsible for promptly reporting the incident to the proper authorities and all business
applications shall be wiped.

NIST Guidance:
Guidelines for Managing and Securing Mobile Devices in the Enterprise
http://csrc.nist.gov/publications/drafts/800-124r1/draft_sp800-124-rev1.pdf

SECTION 11: Electronic Communications Policy

The State encourages the use of electronic communications and electronic
communications systems to enhance efficiency. Electronic communications and
electronic communications systems are to be used for business purposes in serving the
interests of the State and the citizens, visitors, and commerce partners of the State of
Maryland. All electronic communications created, received, or stored on the State’s
electronic communications systems are the sole property of the State and not the author,
recipient, or user.

This document sets forth policy of the State with respect to access, disclosure, recording,
and general usage of electronic communications created, received, or stored through the
use of the electronic communications systems owned, leased, or otherwise affiliated with
Executive Departments and Independent State Agencies. The purpose of this policy is to
explain the ownership of the electronic communications created, received, or stored on
the State electronic communications systems and to inform users of the systems about
their rights and duties with respect to electronic communications.

This section applies to users of State electronic communications systems and may be
changed by the Agency, in its discretion, without prior notice. This policy is in addition
to, and not in replacement of, any other published policy or code of conduct of Executive
Departments and Independent State Agencies.

Any non-government business use or intentional misuse of the State’s electronic
communications systems is a violation of this policy. Non-government business uses
include, but are not limited to:
     Sending and responding to lengthy private messages;
     Sending political messages; and


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      Operating a business for personal financial gain.

Intentional misuse includes, but is not limited to, receiving, displaying, storing, or
transmitting threatening or sexually-explicit images, messages, or cartoons as well as
epithets or slurs based upon race, ethnic or national origin, gender, religious affiliation,
disability, or sexual orientation and harassing, offensive, discriminatory, or defamatory
communications or images without a government business purpose. It also includes
attempting to access a secure database, whether private or public, without permission.

The State’s electronic communications systems may be used for minor, incidental
personal uses, as determined by management that are not intentional misuses. Personal
use shall not directly or indirectly interfere with the Agency’s business uses, directly or
indirectly interfere with another user’s duties, or burden the State with more than a
negligible cost.

Users shall have no expectation as to the privacy or confidentiality of any electronic
communication, including minor incidental personal uses. The State reserves and will
exercise the right to access, intercept, inspect, record, and disclose any and all electronic
communications on the State’s electronic communications systems, including minor
incidental personal uses, at any time, with or without notice to anyone, unless prohibited
by law or privilege.

The State reserves the right to monitor compliance with this policy by accessing,
intercepting, recording, or disclosing any electronic communications , including minor
incidental personal uses, unless prohibited by law or privilege.

The State reserves the right to access, intercept, inspect, record, and disclose any
electronic communications during or after normal working hours and even if the
electronic communications appear to have been deleted from the electronic
communications systems. The use of a State password shall not restrict the Agency’s
right to access electronic communications.

Senior management or individuals with delegated authority, from Executive Departments
and Independent State Agencies have the authority to determine when employee personal
use exceeds minor, incidental, or inappropriate.

Authorized users are responsible for the security of their passwords and accounts. Users
shall not disclose their passwords unless authorized by the Executive Departments or
Independent State Agencies or disclosure is necessary to support the business of the
government.

Users are not permitted to hinder or obstruct any security measures instituted on the
State’s electronic communication systems.




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11.0 Acceptable/Proper Use

The following activities are examples of acceptable use of agency electronic
communications:
    Sending and receiving electronic mail for job related messages, including reports,
       spreadsheets, maps etc.
    Using electronic mailing lists and file transfers to expedite official
       communications within and among state agencies, as well as other job related
       entities.
    Accessing on line information sources to gather information and knowledge on
       state and federal legislation, industry best practices, or to obtain specialized
       information useful to state agencies.
    Connecting with other computer systems to execute job related computer
       applications, as well as exchange and access datasets.
    Communicating with vendors to resolve technical problems.

11.1 Unacceptable/Improper Use

The following activities are examples of unacceptable use of agency electronic
communications:
    Engaging in any activity that is illegal under Local, State, Federal or International
       law in conjunction with the usage of the State’s electronic communications
       systems.
    Unauthorized collection, transmission or sharing of Confidential information
       which may include; Personally Identifiable Information, HIPPA protected
       information and Federal Tax Information ;Violating the rights of any person or
       company protected by copyright, trade secret, patent or other intellectual property
       or similar laws or regulations.
    Unauthorized reproduction of copyrighted material including, but not limited to,
       digitization and distribution of photographs from magazines, books or other
       copyrighted sources, copyrighted music, and the installation of any copyrighted
       software for which the Agency or the user does not have a specific and active
       license.
    Exporting software, technical information, or technology in violation of
       International or regional export control laws.
    Introduction of malicious programs into the State’s electronic communications
       systems infrastructure including, but not limited to, computer workstations,
       servers, and networks.
    Circumventing user authentication or security of any account, host, or network,
       including disclosing a user’s password to others or allowing a user’s account to be
       used by others.
    Interfering with or denying electronic communications system services to any
       user.
    Inappropriate purposes, in violation of the intended use of the network, as defined
       by this policy and DoIT.



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      Interference or disruption of network users, services, or computers, including
       distribution of unsolicited advertising, and/or propagation of computer viruses.
      Effecting security breaches or disruptions of any electronic communications
       system. This includes, but is not limited to tampering with the security of State
       owned computers, network equipment, services or files.

User’s access to State electronic communications systems resources shall cease when one
of the following occurs:
     Termination of employment;
     Termination of a contractor’s or consultant’s relationship with the State;
     Leave of absence of employee;
     End of public official’s term; or
     Lay-off of employee.

SECTION 12: Social Media Policy

Social media is content created using highly accessible Internet-based publishing
technologies used to share opinions, insights, experiences, and perspectives with others.
These emerging collaboration platforms offer new ways for State employees to build
citizen and agency relationships. Social media can also be used by State employees to
take part in national and global conversations related to activities within the State.

Choosing the option to utilize social media technology is a business decision. It must be
made at the appropriate level for each department or agency, considering its mission,
objectives, capabilities, and potential benefits.

The purpose of this section is to provide rules of conduct to State organizations and State
employees when using social media technologies to engage with citizens on behalf of the
State of Maryland. The State expects all authorized participants in social media on behalf
of the State to understand and to follow these guidelines.

Should an agency choose to use social media networks, the agency should sanction
official participation and representation on specific social media sites. State agencies
have an overriding interest and expectation in deciding who may "speak" and what is
"spoken" on behalf of the agency and of the State.

If approved within an agency, social media sites are to be used for business purposes only
in serving the interests of the Agency, the State, and the citizens, visitors, and commerce
partners of the State of Maryland. All electronic communications created, received, or
stored on the Agency’s or State’s electronic communications systems are not the sole
property of the author, recipient, or user. Furthermore, any non-government business use
or intentional misuse of social media communications systems is a violation of this
policy. Misuse of social media and prohibited activities include, but are not limited to:
     Sending and responding to private messages that are not related to state business;
     Engaging in vulgar or abusive language, personal attacks of any kind, or offensive
        terms targeting individuals or groups;


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      Endorsement of commercial products, services, or entities;
      Endorsement of political parties, candidates, or groups;
      Lobbying; and
      Posting photos or videos that are not related to the mission of the agency.

State employees and/or contractors representing the State are responsible for the content
they publish on social media sites.

Wherever possible, links to more information should direct users back to official websites
for more information, forms, documents or online services necessary to conduct business
with the State/agency.

12.0 Identification and Origin of Participant

During the use of a social media site channel on behalf of the State of Maryland, the
response will either be “individual” (from a State Employee), or “organizational” (from a
State Organization):
     Individual, originating from a State employee conducting State business on a
       State controlled social media site: The State Employee must disclose the
       following information within their communication: First and Last Name, Contact
       Information (at a minimum a State E-mail address must be provided - including
       more information is permitted), and their organization (Department or Agency
       Name).
     Individual, originating from a State employee clearly representing themselves as a
       State employee publishing content to any social media site outside of a Maryland
       domain and not conducting state business, must use a disclaimer such as this:
       "The postings on this site are my own and don't necessarily represent Maryland's
       positions, strategies or opinions."
     Organizational, originating from a State Organization controlled social media site:
       The State Organization must disclose the following information as part of their
       use of a communication channel: Organization Name and a single point of contact
       for inquires about the channel (at the minimum, a general E-mail address -
       including more information, such as the Organization’s Telephone Number, is
       permitted).

12.1 Moderating Comments

In some social media formats, state employees may be responsible for moderating
comments. If user content is positive or negative and in context to the conversation, then
the content should be allowed to remain, regardless of whether it is favorable or
unfavorable to the State.

12.2 Ethical Conduct

State employees and organizations will act and conduct themselves according to the
highest possible ethical standards. A summary of the key points of ethical social media
conduct are reproduced below:


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      Should an agency choose to use social media networks, state employees shall be
       familiar with and comply with the terms and conditions of the social media site.
      State employees and State organizations must not knowingly communicate
       inaccurate or false information. All reasonable efforts should be made by the State
       Employee or State Organizations to provide only verifiable facts—not
       unverifiable opinions. Agencies will strive to correct any information found to
       be in error.
      State employees and State organizations must maintain confidentiality of State of
       Maryland information that is considered to be confidential in nature.
      State employees and State organizations will respect the rules of the Social Media
       venue.

12.3 Guiding Principles

If you are developing a social media site on behalf of the state, utilize the state guidance
provided at: http://blogs.maryland.gov/socialmedia/

If you participate in social media, it is recommended that you adhere to these guiding
principles:
     Stick to your area of expertise and provide unique, individual perspectives on
        what is going on at the State, and in other larger contexts.
     Post meaningful, respectful comments, no spam, and no remarks that are off-topic
        or offensive.
     Respect proprietary information, content, and confidentiality.
     When disagreeing with others' opinions, keep it appropriate and polite
     Remain focused on customers, existing commitments, and achieving the
        State’s/agency’s mission.
     Your use of social media tools should never interfere with your primary duties,
        with the exception of where it is a primary duty to use these tools to do your job.
     Only public information can be disclosed on social media sites. Information on
        the Maryland Public Information act can be found at
        http://www.oag.state.md.us/Opengov/pia.htm
     Agencies should consider posting a disclaimer stating that information within the
        social media site is public information and the state cannot be responsible for
        blocking such access.

12.4 Secure Practices

      The information you post online could be used by those with malicious intent to
       conduct social engineering scams that attempt to steal confidential data. Be
       cautious in how much personal information you provide - remember that the more
       information you post, the easier it may be for an attacker to use that information
       to steal confidential data.
      Stealing passwords is a common way unauthorized users can gain access to social
       media accounts. When creating an account, follow password complexity best




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       practices and choose password reset questions that cannot be easily guessed or
       answered through research.
      Security technologies shall be implemented to protect State-represented social
       media sites from unwanted user-generated content.


SECTION 13: Data Loss Prevention Guidance

If currently implemented security controls have failed to reduce agency information
security risk to an acceptable level, a data loss prevention solution should be considered.

Data loss prevention (DLP) refers to a comprehensive approach covering people,
processes, and systems that identify, monitor, and protect data in use, data in motion, and
data at rest, through deep content inspection and with a centralized management
framework. DLP solutions go beyond securing the network to securing systems within
the network, and to securing the data itself. DLP controls are based on policy, and include
classifying sensitive data, discovering that data across an enterprise, enforcing controls,
and reporting and auditing to ensure policy compliance. A comprehensive DLP solution
should include the following controls.

      Use network monitoring tools to analyze outbound traffic looking for anomalies
       which may include; large file transfers, long-time persistent connections,
       connections at regular repeated intervals, unusual protocols and ports in use, and
       possibly the presence of certain keywords in the data traversing the network
       perimeter;
      Deploy an automated tool on network perimeters that monitors for certain
       sensitive information (i.e., personally identifiable information), keywords, and
       other document characteristics to discover unauthorized attempts to exfiltrate data
       across network boundaries and block such transfers while alerting information
       security personnel;
      The ability to scan systems using automated tools to determine whether
       confidential data is present in clear text;
      Use outbound proxies to be able to monitor and control all information leaving an
       organization;
      Use secure, authenticated, and encrypted mechanisms to move data between
       untrusted networks;
      Data stored on removable and easily transported storage media such as USB
       tokens (i.e., "thumb drives"), USB portable hard drives, and CDs/DVDs should be
       encrypted. Systems should be configured so that all data written to such media are
       automatically encrypted without user intervention;
      If there is no business need for supporting such devices, organizations should
       configure systems so that they will not write data to USB tokens or USB hard
       drives. If such devices are required, enterprise software should be used that can
       configure systems to allow only specific USB devices (based on serial number or
       other unique property) to be accessed, and that can automatically encrypt all data



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       placed on such devices. An inventory of all authorized devices must be
       maintained;
      Monitor all traffic leaving the organization and detect any unauthorized use of
       encryption. Attackers often use an encrypted channel to bypass network security
       devices. Therefore it is essential that organizations be able to detect rogue
       connections, terminate the connection, and remediate the infected system.
      DLP solutions should be tested periodically with results documented. Results of
       the tests can help identify if a business or technical process is leaving behind or
       otherwise leaking confidential information.

CSIS: 20 Critical Security Controls - Version 3.1
http://www.sans.org/critical-security-controls/control/17

SECTION 14 Enforcement

Data leakage incidents such as disclosure of non-public information, or making
inappropriate public statements about or for the State/Agency, or using State resources
for personal uses, and harassing or inappropriate behavior toward another employee can
be grounds for reprimand or dismissal. Any employee found to have violated this policy
may be subject to disciplinary action, up to and including termination of employment.
Deliberate, unauthorized disclosure of non-public information may result in civil and/or
criminal penalties.




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Appendix A: IT Incident Reporting Form

                          IT Incident Reporting Form

Agency;

Date and time of Incident;

Point of Contact Name;                                                  Phone;

Incident Details - Please provide as much information about the incident as
possible.

Incident Category;                            Incident discovery method;

1   Unauthorized access                       1   Anti-virus
2   Denial of Service                         2   Log Audit
3   Malicious Code                            3   Intrusion Detection (IPS/IDS)
4   Improper Usage                            4   User Complaint
                                              5   System Administrator
                                              6   Other

Source of Incident;

IP Address                          Port #         Protocol

Destination;

IP Address                          Port #


Affected Agency System; Please provide information about your affected system
and the impact to your agency.

System Function (e.g., DNS, Web server etc..) _________________________


Operating System                    Version               Date of Latest Updates

AntiVirus Installed                 Version               Date of Latest Updates



Briefly describe the incident including the impact to your agency;



What actions were taken to reduce the risk of this type of incident happening again?



Does your agency require any additional assistance from DoIT?


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Appendix B: Definitions

Approved Electronic File   Includes Virtual Private Network (VPN) tunnels supported by
Transmission Methods       Executive Departments and Independent State Agencies.
Approved Electronic Mail   Includes all mail systems supported by Executive Departments and
                           Independent State Agencies.
Confidential Information   Non-public information that is deemed private, privileged or sensitive.
Critical Information       System-level security settings or configurations.
Electronic                 Including, but not limited to, messages, transmissions, records, files,
Communications             data, and software, whether in electronic form or hardcopy.
Electronic                 Including, but not limited to, hardware, software, equipment, storage
Communications             media, electronic mail, telephones, voice mail, mobile messaging,
Systems                    Internet access, and facsimile machines.
Encryption                 The process of transforming information (referred to as plain text)
                           using an algorithm (called cipher) to make it unreadable to anyone
                           except those possessing special knowledge, usually referred to as a
                           key.
HTTPS                      Hypertext Transfer Protocol over Secure Socket Layer is a URL
                           scheme used to indicate a secure HTTP connection.
Media clearing             Media clearing is the removal of sensitive data from storage devices
                           in such a way that there is assurance, proportional to the sensitivity
                           of the data, that the data may not be reconstructed using normal
                           system functions. The data may still be recoverable, but not without
                           unusual effort.
Mobile Device              Devices such as smart phones and tablets that can connect to
                           networks.
Network                    A computer network is a system for communication among two or
                           more computers.
Network Device             Includes; servers, desktop computers, laptop computers, printers,
                           scanners, photocopiers, personal computing devices and
                           other computing devices with networking interfaces capable of
                           connecting to the Agency's network.
Obfuscation                To make obscure; using methods to hide the actual values of
                           sensitive data.
Private                    Personally Identifiable Information (PII); such as an individual’s social
                           security number, financial or health records.
Privileged                 Records protected from disclosure by the doctrine of executive
                           privilege which may include but not limited to records:
                           • Relating to budgetary and fiscal analyses, policy papers, and
                           recommendations made by the Department or by any person working
                           for the Department;
                           • Provided by any other agency to the Department in the course of
                           the Department's exercise of its responsibility to prepare and monitor
                           the execution of the annual budget;
                           • Relating to a State procurement when a final contract award has
                           not been made or when disclosure of the record would adversely
                           affect future procurement activity;
                           • Of confidential advisory and deliberative communications relating to
                           the preparation of management analysis projects conducted by the
                           Department pursuant to State Finance and Procurement Article, §7-
                           103, Annotated Code of Maryland.
Portable Device            Any electronic portable device capable of storing data such as;
                           Laptops, Mobile or Smart phones, MP3 Players, USB Thumbdrives,
                           External Hard Drives, iPads, etc.


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Publicly Accessible   Systems such as Web and FTP applications that are exposed to the
System                Internet and therefore, more vulnerable.
Public Information    Information that is a public record under the Maryland Public
                      Information Act.
Remote Access         Any access to DoIT’s managed network through a non-DoIT
                      managed network, device, or medium.
Sanitization          Refers to the general process of removing data from storage media,
                      such that there is reasonable assurance that the data may not be
                      easily retrieved and reconstructed.
Sensitive             Information that, if divulged, could compromise or endanger the
                      citizens or assets of the State.
Social Media          Online technologies and practices that people use to share opinions,
                      insights, experiences, and perspectives with each other.
SNMP                  Simple Network Management Protocol is used in network
                      management systems to monitor network-attached devices for
                      conditions that warrant administrative attention.
SSH                   Secure Shell is a network protocol that allows data to be exchanged
                      using a secure channel between two computers.
SSID                  Service Set Identifier is a name used to identify the particular 802.11
                      wireless LAN to which a client wants to attach.
Untrusted Entity      An entity that can or may be potentially harmful to a system.
Wi-Fi Certified       Wi-Fi CERTIFIED is a program for testing products to the 802.11
                      industry standards for interoperability, security, easy installation, and
                      reliability




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Appendix C: Wireless Security

This policy specifies the conditions that wireless infrastructure devices must satisfy to
connect to any state agency network. Only wireless systems that meet the criteria of this
policy or have been granted an exclusive waiver by the Agency CIO (or similar delegated
Agency authority) are approved for connectivity to agency networks. Agencies shall;
     Establish a process for documenting all wireless access points;
     Ensure proper security mechanisms are in place to prevent the theft, alteration, or
        misuse of access points;
     Restrict hardware implementation to utilize Wi-Fi certified devices that are
        configured to use the latest security features available;
     Change default administrator credentials;
     Change default SNMP strings if used, otherwise disable SNMP;
     Change default SSID;
     Deploy secure access point management protocols and disable telnet;
     Strategically place and configure access points to minimize SSID broadcast
        exposure beyond the physical perimeter of the building;
     Require wireless users to provide unique authentication over encrypted channels
        if accessing internal LAN services;
     Require wireless users to utilize encrypted data transmission if accessing internal
        LAN services;




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Appendix D: Sample Media Sanitization Form

Organization:
Item Description:
Item Disposition:
     Sanitize
     Destroy
Date Conducted:
Conducted By:
Phone #:
Validated By:
Phone #:
Sanitization Method Used:




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 Appendix E: Sample Incident Handling Checklist and Forensics Guidelines


                                        Action                                         Done
                                      Detection and Analysis
Prioritize handling the incident based on the relevant factors (functional impact,
information impact, recoverability effort, etc.)
Identify which resources have been affected and forecast which resources will be
affected
Report the incident to the appropriate internal personnel and external organizations
                            Containment, Eradication, and Recovery
Acquire, preserve, secure, and document evidence
Contain the incident
Eradicate the incident
Identify and mitigate all vulnerabilities that were exploited
Remove malicious code, inappropriate materials, and other components
Recover from the incident
Return affected systems to an operationally ready state
Confirm that the affected systems are functioning normally
If necessary, implement additional monitoring to look for future related activity
                                       Post-Incident Activity
Create a follow-up report
Hold a lessons learned meeting

Refer to the corresponding tables within NIST SP 800-61 Revision 2 Computer Security
Incident Handling Guide for specific incident category guidance.
http://csrc.nist.gov/publications/nistpubs/800-61rev2/SP800-61rev2.pdf

Incident Response and Forensics Guidelines

Preserving forensic data is an essential aspect of any incident response plan. The forensic
data acquired during the overall incident response process is critical to containing the
current intrusion and improving security to defend against a similar future attack. The
following guidelines are provided to assist agencies in the retention of essential forensic
data.

Keep detailed notes of all observations, including dates/times, mitigation steps taken/not
taken, device logging enabled/disabled, and machine names for suspected compromised
equipment. More information is generally better than less information.

When possible, capture live system data (i.e., current network connections and open
processes) prior to disconnecting a compromised machine from the network.

Capture a forensic image of the system memory prior to powering down the system.




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When powering down a system, physically pull the plug from the wall rather than
gracefully shutting down. Forensic data can be destroyed if the operating system (OS)
executes a normal shut down process.

After shutting down, capture forensic images of the host hard drives.

Avoid running any antivirus software “after the fact” as the antivirus scan changes
critical file dates and impedes discovery and analysis of suspected malicious files and
timelines.

Avoid making any changes to the OS or hardware, including updates and patches, as they
might overwrite important information relevant to the analysis. Organizations should
consult with trained forensic investigators for advice and assistance prior to
implementing any recovery or forensic efforts.

When a compromised host is identified, it should be removed from the network for
forensic data collection (but not powered off, as noted above). When all available data
have been retained from the infected host, agencies should follow established internal
procedures for recovering the host.

If an agency does not have an adequate incident response plan or the necessary staff to
handle a serious cyber incident, it should consult trained forensic investigators to assist
with developing a response plan and implementing recovery efforts.

Useful imaging tool by Access Data (FTK Imager) can be used to capture and preserve
evidence.
http://www.accessdata.com/support/product-downloads




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